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                    United States District Court
                      District of Massachusetts

                                    )
United States of America            )
                                    )
          v.                        )     Criminal Action No.
                                    )     19-10210-NMG
Vanderlei Rodrigues DeAraujo,       )
                                    )
          Defendant.                )
                                    )

                          MEMORANDUM & ORDER

GORTON, J.

     At the final pretrial conference on September 23, 2020, the

Court took several motions in limine under advisement.         After

consideration of the parties’ submissions and oral argument, the

Court rules as follows:

1.   The defendant’s motion to admit pay stubs and employment

records (Docket No. 57) is DENIED without prejudice.         At the

final pretrial conference, the parties agreed that these records

are in the name of Sidney Rodrigues Da Silva, and defendant has

not proffered sufficient evidence to show that such name is or

ever was his alias.    Accordingly, the employment records are

irrelevant and inadmissible.

2.   The government’s motion to admit audio/video recordings of

alleged firearm and ammunition transactions (Docket No. 58) is

ALLOWED to the extent that a proper foundation is established

that only those statements necessary for context are admitted.



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Defense counsel’s contention that admitting such evidence is

improper because counsel lacks information regarding the

recorded conversations is without merit.       If counsel chooses to

subpoena the confidential informant, he may do so and if his

whereabouts are unknown, the government’s assistance should be

availing.

3.   Because defendant has not met his “entry-level burden” of

producing sufficient evidence to plausibly support a defense of

entrapment, United States v. Rivera-Ruperto, 846 F.3d 417, 428-

29 (1st Cir. 2017); United States v. Díaz-Maldonado, 727 F.3d

130, 136 (1st Cir. 2013) (framing the question as whether the

defendant proffered “at least enough admissible evidence to

allow a reasonable jury to find in his favor”), the government’s

motion to preclude the defendant from raising such a defense in

his opening (Docket No. 60) is ALLOWED.



So ordered.


                                        /s/ Nathaniel M. Gortond
                                        Nathaniel M. Gorton
                                        United States District Judge

Dated September 25, 2020




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